[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.] DECISION AND JUDGMENT ENTRY
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This matter is before the court on the petition of prose relator, Tana T. Bey, requesting that this court issue a writ of procedendo ordering respondent, Judge Skow, to proceed to a final judgment on relator's motion for production of transcripts and other documents.
6th Dist.Loc.App.R. 6 provides that in an original action, the relator shall "* * * file a praecipe directing the clerk of the court of appeals to serve a copy of the complaint on each other party at the addresses listed in the praecipe."  The record before us reveals that relator did not file a praecipe along with his petition. Accordingly, respondent has not been properly served by the clerk with a copy of the petition.
For this reason, we find the petition for a writ of procedendo not well-taken and denied. This cause is dismissed at relator's costs.
  _______________________________  Peter M. Handwork, P.J.
JUDGE
  _______________________________  Melvin L. Resnick, J.
JUDGE
  _______________________________  Richard W. Knepper, J.
JUDGE
CONCUR.